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4 de febrero 2016

De: Pedro A. Emmanuelli Director PRTSA y CRSO: Omar J.
Claudio-Liopiz

A: Departamento de Recreacién y Deportes, Instituto
Puertorriquefio para el Desarrollo de! Deporte y Recreacién

w&
Hola y saludo esta carta es para pedir explicacién escrita, ya fie ~ =

uno de nuestros miembros en el dia de ayer fue a solicitar su licencia de
tiro la cual fue denegada por razones que desconocemos,

Nuestra organizacién fue acreditada por el Instituto
Puertorriquefio para el Desarrollo del Deporte y Recreacién dejandonos
llevar por Ley Num. 8 de 8 de Enero de 2004 Ley Organica del
Departamento de Recreacién y Deportes, siguiendo todos los
procedimientos y requisitos de ley.

Entendemos que el denegar estas licencias sin notificacién previa
es una violaci6n de ley y podria ser discriminatoria, es por esto que
pedimos aclaracién antes de pedir ayuda al tribunal.

Para cualquier duda y/o pregunta 787-664-3368

Director de actividades: Pedro A. Emmanuelli p--—

CRSO: Omar J. Claudio-Llopiz

Puerto Rico Tactical Shooting Association
